










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS



AMBER LEAL BROWN, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

DONALD E. BROWN,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-04-00190-CV

Appeal from the

300th District Court

of Brazoria County, Texas

(TC# 14319*RH00)




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is the Appellant’s motion to dismiss this appeal pursuant to
Tex. R. App. P. 42.1(a)(1), which states:
(a) On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:
&nbsp;
(1) On Motion of Appellant.  In accordance with a motion of appellant, the
court may dismiss the appeal . . . unless disposition would prevent a party from
seeking relief to which it would otherwise be entitled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Appellant has complied with the requirements of Rule 42.1(a)(1).  Appellant  has
requested that the Court grant her motion to dismiss the appeal pursuant to Texas Rules of
Appellate Procedure Rule 43.2(f) because the parties have entered into a settlement
agreement disposing of the underlying action.  Texas Rules of Appellate Procedure Rule
43.2(f) provides that the appellate court may dismiss the appeal.  The Court has considered
this cause on the Appellant’s motion and concludes the motion should be granted and the
appeal be dismissed.  We therefore dismiss the appeal.  The costs shall be borne by
Appellant.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice
February 10, 2005

Before Barajas, C.J., McClure, and Chew, JJ.


